Case 1:22-cr-20552-DPG Document 6 Entered on FLSD Docket 11/18/2022 Page 1 of 5




                               UNITED STATES DISTRICT COURT                                     KP
                               SOUTHERN DISTRICT OF FLORIDA
                                                                                       Nov 18, 2022
                                     CASE NO. 22-CR-20552-DPG
                                                                                                  Miami


  UNITED STATES OF AMERICA

  v.

  DAVID RIVERA, and                                                 FILED EX PARTE
  ESTHER NUHFER,

                    Defendants.


            UNITED STATES’ EX PARTE APPLICATION FOR POST-INDICTMENT
                PROTECTIVE ORDER PURSUANT TO 21 U.S.C. § 853(e), AND
                    MEMORANDUM OF LAW IN SUPPORT THEREOF

            Pursuant to 21 U.S.C. § 853(e), the United States of America (the “United States”), through

 the undersigned Assistant United States Attorney, respectfully requests the entry of a protective

 order to restrain and enjoin certain assets in order to preserve their availability for criminal

 forfeiture. In support of this ex parte application, the United States submits the following factual

 and legal bases.

       I.        RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

            1.     On November 16, 2022, a federal grand jury returned an Indictment charging

 Defendants David Rivera and Esther Nuhfer (collectively, the “Defendants”) with conspiracy to

 commit offenses against the United States and conspiracy to commit money laundering, in

 violation of 18 U.S.C. §§ 371 and 1956, and substantive counts of engaging in transactions in

 criminally derived property and failure to register as a foreign agent, in violation of 18 U.S.C.

 § 1957 and 22 U.S.C. §§ 612(a) and 618(a)(1), respectively. See Indictment.

            2.     The Indictment contained forfeiture allegations, which alleged that upon conviction
Case 1:22-cr-20552-DPG Document 6 Entered on FLSD Docket 11/18/2022 Page 2 of 5




 of a violation, or conspiracy to commit a violation, of 22 U.S.C. §§ 612 and 618, the Defendants

 shall to the United States any property, real or personal, which constitutes or is derived from

 proceeds traceable to such offense, pursuant to 18 U.S.C. § 981(a)(1)(C). See id. at 31. The

 Indictment also alleged that upon conviction of a violation of 18 U.S.C. §§ 1956 and/or 1957, the

 Defendants shall forfeit to the United States any property, real or personal, involved in such

 offense, and any property traceable to such property, pursuant to 18 U.S.C. § 982(a)(1). See id.

         3.       The Indictment, in paragraph 4 of the forfeiture allegations, alleged that the

 property subject to forfeiture includes, but is not limited to:

         (i)      A sum of at least $23,750,000.00 in U.S. currency, which represents the total

                  amount of funds involved in or derived from the alleged offenses and may be sought

                  as a forfeiture money judgment;

         (ii)     Wells Fargo Securities brokerage account no. 6423-2614, held in the name of

                  ESTHER NUHFER;

         (iii)    Real property located at 2665 S.W. 37th Avenue, Unit 504, Miami, Florida 33133;

         (iv)     Real property located at 1673 Pink Dogwood Way, Oviedo, Florida 32765;

         (v)      Real property located at 21 Sadowski Causeway, Key Colony Beach, Florida

                  33051; and

         (vi)     Real property located at 10925 N.W. 43rd Lane, Doral, Florida 33178.

 See id. at 32.

         4.       Prior to its deliberations, the grand jury was specifically instructed that, upon a

 finding of probable cause to support the offenses charged in the Indictment, it should also

 determine whether there is a probable cause to support that the specific assets listed above are

 subject to forfeiture as alleged in the Indictment.




                                                    2
Case 1:22-cr-20552-DPG Document 6 Entered on FLSD Docket 11/18/2022 Page 3 of 5




           5.        The grand jury subsequently returned the Indictment.

     II.           MEMORANDUM OF LAW

           The United States seeks the entry of a protective order to restrain and enjoin the following

 assets subject to forfeiture (collectively, the “Subject Assets”):1

           (i)       Wells Fargo Securities brokerage account no. 6423-2614, held in the name of

                     ESTHER NUHFER;

           (ii)      Real property located at 2665 S.W. 37th Avenue, Unit 504, Miami, Florida 33133;

           (iii)     Real property located at 1673 Pink Dogwood Way, Oviedo, Florida 32765;

           (iv)      Real property located at 21 Sadowski Causeway, Key Colony Beach, Florida

                     33051; and

           (v)       Real property located at 10925 N.W. 43rd Lane, Doral, Florida 33178.

           Section 853(e)(1)(A) of Title 21, United States Code, authorizes the Court to restrain,

 enjoin, or take any other action, to preserve the availability of the Subject Assets for criminal

 forfeiture. In relevant part, the statute provides:

           (e) Protective orders

                    (1) Upon application of the United States, the court may enter a restraining
                    order or injunction, require the execution of a satisfactory performance bond,
                    or take any other action to preserve the availability of property described in
                    subsection (a) for forfeiture under this section—

                         (A) upon the filing of an indictment or information charging a
                         violation of this subchapter or subchapter II for which criminal
                         forfeiture may be ordered under this section and alleging that the



 1
   As noted infra in Part I paragraph 3, item (i) provided notice that the United States may seek a
 forfeiture money judgment against the Defendants. The district court determines the amount of
 the forfeiture money judgment at sentencing. See Fed. R. Crim. P. 32.2(a), (b)(1)(1). As this is
 not specific property, the United States is not seeking its restraint. In addition, the United States
 also provided notice in the Indictment that the United States may seek the forfeiture of substitute
 property, pursuant to 21 U.S.C. § 853(p). See Indictment, at 32-33.


                                                       3
Case 1:22-cr-20552-DPG Document 6 Entered on FLSD Docket 11/18/2022 Page 4 of 5




                    property with respect to which the order is sought would, in the event
                    of conviction, be subject to forfeiture under this section[.]

 21 U.S.C. § 853(e)(1)(A).     In addition, pursuant to 21 U.S.C. § 853(e)(4)(A), the Court is

 authorized to order a defendant to repatriate any property that may be seized and forfeited, and to

 deposit that property pending trial with the U.S. Secretary of the Treasury or U.S. Marshals

 Service. 21 U.S.C. § 853(e)(4)(A). Accord 21 U.S.C. § 853(f) (authorizing the Court to issue a

 warrant to seize property subject to forfeiture). These procedures set forth in 21 U.S.C. § 853 are

 made applicable to the criminal forfeiture in the instant case by 18 U.S.C. § 982(b)(1) and 28

 U.S.C. § 2461(c). See 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), (b)(1); 28 U.S.C. § 2461(c).

        The Court may enter a protective order to preserve assets based on the grand jury’s finding

 that such property is subject to forfeiture. See Kaley v. United States, 571 U.S. 320, 330-33 (2014)

 (just as it is sufficient to support the issuance of a warrant for the defendant’s arrest, the grand

 jury’s finding of probable cause is sufficient to support the restraint of her property). The

 application and entry of such a protective order may be ex parte, without notice or a hearing. See

 United States v. Bissell, 866 F.2d 1343, 1349 (11th Cir. 1989); 21 U.S.C. § 853(e). Section

 853(e)(1)(A) authorizes the restraint of the Subject Assets “[u]pon application of the United

 States” and “upon the filing of an indictment.”        21 U.S.C. § 853(e)(1)(A).     Cf. 21 U.S.C.

 § 853(e)(2) (also providing procedures for the restraint of assets prior to indictment without notice

 or hearing). The Eleventh Circuit has held that “once an indictment has issued, the court may

 order such restraints ex parte. These restraining order provisions do not, on their face, require a

 hearing either prior to, or after, the imposition of restraints on defendants’ assets.” Bissell, 866

 F.2d at 1349 (internal citation omitted).

        Although the Court may decide how to preserve the Subject Assets under 21 U.S.C.

 § 853(e)(1) – deciding whether a restraint, injunction, or some other means is most appropriate –



                                                  4
Case 1:22-cr-20552-DPG Document 6 Entered on FLSD Docket 11/18/2022 Page 5 of 5




 the Supreme Court has explained that the statute is “plainly aimed at implementing the commands

 of [the forfeiture statute] and cannot sensibly be construed to give district court discretion to permit

 the dissipation of the very property that [forfeiture statute] requires be forfeited upon conviction.”

 United States v. Monsanto, 491 U.S. 600, 612-13 (1989). “Whatever discretion Congress gave

 the district courts in §§ 853(e) and 853(c), that discretion must be cabined by the purposes for

 which Congress created it: ‘to preserve the availability of property . . . for forfeiture.’” Id. at 613.

 Accordingly, because the grand jury has found probable cause to believe that the Subject Assets

 are subject to forfeiture upon the conviction of the Defendants, the Court must enter a protective

 order to preserve the availability of such assets. See id. at 612-13; Kaley, 571 U.S. at 330-33.

         WHEREFORE, the United States respectfully requests, pursuant to 21 U.S.C. § 853(e),

 that the Court issue a protective order restraining and enjoining the Subject Assets. A proposed

 order is attached.

                                                         Respectfully submitted,

                                                         JUAN ANTONIO GONZALEZ
                                                         UNITED STATES ATTORNEY

                                                 By:      /s/ Joshua Paster
                                                         Joshua Paster
                                                         Assistant United States Attorney
                                                         Court ID No. A5502616
                                                         99 N.E. 4th Street, 7th Floor
                                                         Miami FL, 33132-2111
                                                         Telephone: (305) 961-9342
                                                         E-mail: Joshua.Paster@usdoj.gov




                                                    5
